
256 F.Supp. 962 (1966)
Peggy J. CONNOR et al., Plaintiffs,
v.
Paul B. JOHNSON et al., Defendants.
Civ. A. No. 3830.
United States District Court S. D. Mississippi, Jackson Division.
July 22, 1966.
*963 Peter Marcuse, Waterbury, Conn., Kunstler, Kunstler &amp; Kinoy, William M. Kunstler and Arthur Kinoy, New York City, Smith, Waltzer, Jones &amp; Peebles, Benjamin Smith, Bruce C. Waltzer, New Orleans, La., Morton Stavis, Newark, N. J., Carl Rachlin, Melvin L. Wulf, A.C. L.U., New York City, Alvin Bronstein, *964 R. Jess Brown, Jackson, Miss., for plaintiffs.
Joe T. Patterson, Atty. Gen., Martin R. McLendon, Asst. Atty. Gen., Jackson, Miss., for defendants.
Before COLEMAN, Circuit Judge, and COX and RUSSELL, District Judges.
PER CURIAM:
The suit was filed October 19, 1965. The plaintiffs are adult, resident citizens and qualified electors of the State of Mississippi. The defendants are the three Members of the State Board of Election Commissioners, the Speaker of the State House of Representatives, and the President Pro Tempore of the State Senate.
Upon appropriate supporting factual allegations, the plaintiffs seek the reapportionment of the Mississippi Legislature in keeping with the principles enunciated in Baker v. Carr, and likewise seek to have the five Congressional Districts of the State of Mississippi rearranged by counties so that (quoting from the complaint) "Each of the Congressional Districts should contain 435,628 persons to be apportioned on a strict population basis".
The Court has jurisdiction of the subject matter and to hear and determine this case, Baker v. Carr, 369 U.S. 186, 82 S.Ct. 691, 7 L.Ed.2d 663. See also Reynolds v. Sims, 377 U.S. 533, 84 S.Ct. 1362, 12 L.Ed.2d 506; Scott v. Germano, 381 U.S. 407, 85 S.Ct. 1525, 14 L.Ed.2d 477; Toombs v. Fortson, D.C., 241 F.Supp. 65; Fourteenth Amendment, Equal Protection Clause; 28 U.S.C.A. § 2281 et seq. including 28 U.S.C.A. Section 1343. In this opinion we deal only with the question of legislative reapportionment. The parties have not yet completed their proof on the matter of Congressional Redistricting. This, when ready, will be the subject of a separate opinion.
Baker v. Carr, supra, held: (1) That the district courts possess jurisdiction of the subject matter of a state legislative reapportionment case; (2) That by allegations that there was substantial inequality of population between legislative districts a justiciable cause of action was stated upon which the Court could grant appropriate relief; (3) Individual citizens, electors and taxpayers had standing to challenge the apportionment statutes of a state; and (4) That district courts possess full authority to fashion relief in appropriate cases.
The Court has full jurisdiction of the person of the election commissioners of Mississippi, or any other person or persons charged with the duty of conducting elections for Senators and members of the House of Representatives of the Mississippi Legislature, certifying the results thereof and issuing commissions to the members so elected, to assure full compliance with whatever final order is rendered in this case by enjoining them from conducting any elections, certifying the result thereof or issuing commissions of office to any person claiming to have been elected contrary thereto.

THE MOTION TO DROP THE MISSISSIPPI FREEDOM DEMOCRATIC PARTY AS A PARTY PLAINTIFF
Defendants moved the Court to order the Mississippi Freedom Democratic Party dismissed and dropped from the cause as a party plaintiff, on the following grounds:
"(1) The unincorporated association does not have capacity to sue under the law of the State of Mississippi.
"(2) The unincorporated association does not allege that the suit in its common name is for the purpose of enforcing for or against it a substantive right existing under the Constitution or laws of the United States, but alleges that it `* * * brings this suit on its own behalf and on behalf of its members.'
"(3) The unincorporated association does not possess for itself the right to vote or be represented in the Congress or the Mississippi Legislature; and it cannot affirmatively assert personal constitutional rights of or for its members; which said rights may be asserted only by the individuals possessing such rights.
*965 "(4) Dropping the unincorporated association, which is neither a proper, necessary or indispensable party, will not materially affect the rights, if any, of the individual plaintiffs to the relief sought."
If the Rule were literally applied we have grave doubt that the Mississippi Freedom Democratic Party does have standing to sue in this particular case. We feel that deprivation of Constitutional rights is more properly to be asserted by persons, not organizations which merely claim to speak for persons, but the dismissal of the Freedoom Democratic Party will not affect this litigation; the persons who have sued in their own names will remain. Therefore, if error is to be committed either way, we prefer to err on the side of a broad interpretation of Rule 17(b) of the Federal Rules of Civil Procedure and we overrule the motion.[1] The Mississippi Freedom Democratic Party will, therefore, remain a party to this litigation and will be bound by its outcome, whatever that may be.

SUBJECT MATTER OF THE LITIGATION
Plaintiffs allege, in substance, that the apportionment of seats in the Senate and the House of Representatives of the Mississippi Legislature contain elements of invidious discrimination against the citizens of some of the senatorial and legislative districts and in favor of the citizens of other districts. The apportionment of representation of the various counties of the State in the House of Representatives and Senate is provided for by Sections 254 and 255, Mississippi Constitution of 1890, as amended by Chapter 57, General Laws of Mississippi, Second Extraordinary Session 1962, ratified by the electorate on February 5, 1963, and inserted into the Constitution by proclamation of the Secretary of State on February 13, 1963.
The statutes implementing the constitutional amendment by establishing posts for qualification and election of members are Section 3326Representatives and Section 3327Senators, Mississippi Code of 1942, Recompiled.
The Court notes that the official United States Census for the various counties of the State is the only authoritative population count for all of the counties in Mississippi. Plaintiffs elected to stand on these official population reports to show the disparity of population existing in many instances throughout the State. The identical figures will be set forth in an exhibit to this opinion.
The present apportionment of the House of Representatives is in accord with the provision of the State Constitution that requires that each county have one representative. The remaining forty members of the 122 member House are divided among the more populous counties on a population basis. The multiple-member counties elect 64 members, a majority, while the one-member counties elect 58 members. A majority of the House of Representatives can conceivably be elected by counties having a combined total population of 879,123 or 40.361% of the total population of the State.
The State is divided into forty-nine senatorial districts from which fifty-two senators are elected. The more populous counties are each allotted one senator and the smaller counties population-wise are combined for the purpose of electing a senator from the combined territory. A majority of the Senate can conceivably be elected from senatorial districts having *966 a combined total population of 810,249, or 37.199% of the total population of the State.
In Maryland Committee for Fair Representation v. Tawes, 377 U.S. 656, 84 S.Ct. 1429, 12 L.Ed.2d 595, the Court said:
"It is simply impossible to decide upon the validity of the apportionment of one house of a bicameral legislature in the abstract, without also evaluating the actual scheme of representation employed with respect to the other house. Rather, the proper, and indeed indispensable, subject for judicial focus in a legislative apportionment controversy is the overall representation accorded to the State's voters, in both houses of a bicameral state legislature."
The apportionment of the Mississippi Legislature is more nearly equal when the representation in both the House and Senate are combined and considered together as shown on the appendix hereto. Even with this combination it cannot be rationally explained why representatives and senators from Washington County should represent 19,660 people while the representatives and senators from Claiborne and Jefferson Counties should represent only 6,996. Although the example is the extreme, there are other disparities that defy rational explanation, while some counties are properly represented under the present apportionment both in the House and Senate and when the two are combined.
No rational explanation can be given to show why 33 counties are in the group of 47 counties comprising the least possible number of people that can conceivably elect a majority of the State Senate while the same 33 counties are in the group of 51 counties that can conceivably elect the majority of the House of Representatives.
The comparison of combined House and Senate representation per county also fails when it is considered that the House has 122 members while the Senate has only 52 members.
Note is taken of the fact that the present apportionment was passed by the Legislature and approved by the electorate of the State before the cases hereinafter discussed were decided.
The Equal Protection Clause requires that, as a basic constitutional standard, the seats in both houses of a bicameral State legislature must be apportioned substantially on a population basis. Reynolds v. Sims, 377 U.S. 533, 84 S.Ct. 1362, 12 L.Ed.2d 506; W. M. C. A. v. Lomenzo, 377 U.S. 633, 84 S.Ct. 1418, 12 L.Ed.2d 568; Maryland Committee for Fair Representation v. Tawes, supra; Davis v. Mann, 377 U.S. 678, 84 S.Ct. 1441, 12 L.Ed.2d 609; Roman v. Sincock, 377 U.S. 695, 84 S.Ct. 1449, 12 L.Ed.2d 620; and Lucas v. Forty-Fourth General Assembly of State of Colorado, 377 U.S. 713, 84 S.Ct. 1459, 12 L.Ed.2d 632. See also Fortson v. Dorsey, 379 U.S. 433, 85 S.Ct. 498, 13 L.Ed.2d 401, and Burns v. Richardson, 384 U.S. 73, 86 S.Ct. 1286, 16 L.Ed.2d 376, decided April 25, 1966.
The Court in Reynolds v. Sims, supra, declared the Federal analogy of a seat for each population unit regardless of its population was not applicable to State legislative bodies and said:
"Logically, in a society ostensibly grounded on representative government, it would seem reasonable that a majority of the people of a State could elect a majority of the State's legislators."
The argument that the apportionment is based upon the State Constitution, an amendment to which was approved by a majority of the electorate, was answered by the Court in Lucas v. Forty-Fourth General Assembly of State of Colorado, supra, as follows:
"We hold that the fact that a challenged legislative apportionment plan was approved by the electorate is without federal constitutional significance, if the scheme adopted fails to satisfy the basic requirements of the Equal Protection Clause, as delineated in our opinion in Reynolds v. Sims."
*967 Likewise, in Roman v. Sincock, supra, the Court said:
"Regardless of the requirements of the Delaware Constitution and the fact that legislative apportionment has traditionally been considered a constitutional matter in Delaware, the delay inherent in following the state constitutional prescription for approval of constitutional amendments by two successive General Assemblies cannot be allowed to result in an impermissible deprivation of appellees' right to an adequate voice in the election of legislators to represent them."

THE DECISION OF THE COURT

I
From the foregoing it follows that the apportionment provisions of the Mississippi Constitution and statutes are contrary to the Equal Protection Clause of the Fourteenth Amendment to the United States Constitution and are, therefore, invalid under the Supremacy Clause. All of the provisions of Sections 254 and 255, Mississippi Constitution of 1890, as amended, and as they existed prior to the amendment, and Sections 3326 and 3327, Mississippi Code of 1942, Recompiled, as amended, are hereby declared to be unconstitutional and invalid for all future elections of members of the House of Representatives and the Senate of the Mississippi Legislature.
The Court now respectfully requests and directs the Mississippi Legislature to re-apportion itself, as it should do, and as it is capable of doing, and we make it a matter of record that we trust that such a vital legislative function will never have to be performed by the judiciary, state or federal.
We adopt the statement contained in Toombs v. Fortson, 241 F.Supp. 65 (1965), wherein the Court said:
"We deem the duty of the court in a case such as this to rest on two considerations. First, the constitutional rights of plaintiffs must be accorded, and, if possible, by the state and not the court. Second, this should be accomplished within the ambit of the public interest that is involved in allowing the state political and governmental process to function in a manner so as to do as little harm as possible to other areas and functions for which the state is responsible."

II
The invalidity of the apportionment provisions under which the present representatives and senators were elected is prospective only and shall not affect the term of office of the incumbents. Any vacancy that may occur in the legislature by resignation or death of a representative or senator may be filled by the electors of the district that elected the member that resigned or died.

III
The representatives and senators to be nominated in August, 1967, and elected in November, 1967, to take office in January, 1968, shall be elected only under an apportionment plan that meets the requirements of the United States Constitution.

IV
The principal argument made for the defendants is that legislative reapportionment is primarily the responsibility of the legislature and that the Court should not interfere with this duty and responsibility. The Court agrees "* * that legislative reapportionment is primarily a matter for legislative consideration and determination, and that judicial relief becomes appropriate only when a legislature fails to reapportion according to federal constitutional requisites in a timely fashion after having had an adequate opportunity to do so." Reynolds v. Sims, supra.
This case was continued in January of this year to permit the Legislature to act on the matter of legislative reappportionment. Limited progress was made.
After failing to secure the necessary votes in both houses to amend the constitution to authorize the Legislature to reapportion itself (H.C.R. No. 49 passed the House by a substantial majority but *968 failed of passage in the Senate on three separate occasions), there was created, by H.C.R. No. 71, an interim study committee to study the facts and circumstances necessary for an intelligent, correct and proper reapportionment of the Legislature of the State of Mississippi.
The members of the interim study committee have been duly appointed as provided by H.C.R. No. 71. The full committee has met and organized and a subcommittee has been appointed; that subcommittee has organized and is meeting at regular intervals for the purpose of completing a report for submission to the full committee. The chairman advises the Court by affidavit that the sub-committee will complete its work and report to the full committee by August 1, 1966; and he will call sufficient meetings of the full committee to enable it to complete its work by September 15, 1966; and that the report of the committee with the recommendation that a Special Session of the Legislature be called will be filed with the Governor before October 1, 1966.
With the apportionment provisions of the State Constitution having been declared invalid, reapportionment may now be approved by a simple majority of the Legislature.
Obviously, the Constitutional rights of the Plaintiffs, and all other citizens, to elect a correctly apportioned legislature in 1967 can in no way be endangered if this Court should wait a further reasonable time before entering its final order in this case. We realize that whether or not a special session of the Legislature is to be called rests solely in the sound discretion of the Governor. We take note, however, that the Governor, in fact, did urge the Legislature to complete reapportionment before the end of the regular session, so we feel there is no special risk involved in granting further reasonable delay as herein set forth.
It is only fair to the Legislators, too, to point out that after many rigors it did succeed in enacting a Congressional Redistricting Bill, a vital element of the litigation raised by this case. Each member of the Legislature did take an oath to support the Constitution of the United States and Section 40 of the Mississippi Constitution commands him to do so. As long as the facts permit we shall certainly indulge the presumption that the Legislature will do its sworn duty.
If we, by reason of the failure of the Legislature to act, should be forced to enter a reapportionment of our own we do not now intimate the plan we would follow, but do point out that the members could be elected from the State at Large, Cf. Westberry v. Sanders, 376 U.S. 1, 84 S.Ct. 526, 11 L.Ed.2d 481, or an equal number of Representatives and Senators could be chosen from the five Congressional Districts, if the validity of these Districts should later be upheld. Of course, sitting in equity, we could redraw the Senatorial and Representative Districts but we see no point in failing to recognize the limitations under which the Court would have to work if using that approach.
We are firmly of the view that orderly preparation for the election of Senators and Representatives in 1967 requires that a final plan for reapportionment of the Legislature, either legislatively enacted or judicially ordered, must be finally approved before December 1, 1966.
In the event a legislative apportionment plan is enacted by the incumbent legislators for the election of their successors on or before December 1, 1966, the Court will examine and consider that plan in light of the constitutional requirements and if it meets those requirements, the plan will be approved and this case dismissed. In the event the Legislature does not enact an acceptable plan on or before December 1, 1966, this Court will proceed with its own plan by which the new legislators and senators are to be elected.
That which has herein appeared shall constitute the findings of fact and conclusions of law in this case, and an order accordingly will be prepared and entered by the Court.
*969 Any motion, plea, or pleading not herein disposed of may be considered as left pending the final Judgment in the cause, and, as already stated, we do not here deal with the matter of Congressional Redistricting.

APPENDIX

Schedule 1                   COMPARISON OF MISSISSIPPI STATE LEGISLATIVE AREAS
                                 UNDER THE PROVISIONS OF SCR NO. 101 OF 1962
                                                                                                          % of State's
                                                      Population                                            Population
                                           Number     Represented   Norm For       Over (+)       % Over    Represented
                                             of         By Each     State As     Or Under (-)    Or Under     By Each
Areas                      Population    Legislators   Legislator    A Whole        Norm           Norm     Legislator 
10-Legislator Areas (1)      187,045          10         18,705       12,518         6,187+       49.425+      0.859(1)
 7-Legislator Areas (1)      119,489           7         17,070       12,518         4,552+       36.364+      0.784
 5-Legislator Areas (4)      198,582          20          9,929       12,518         2,589-       20.682-      0.456(1)
 4-Legislator Areas (8)      422,003          32         13,188       12,518           670+        5.352+      0.605
 3-Legislator Areas (35)   1,251,022         105         11,914       12,518           604-        4.825-      0.547
                           _________        ____         ______       ______                                   _____
State Norm (Average) (49)  2,178,141         174         12,518       12,518                                   0.575
                           =========        ====         ======       ======                                   =====
(1) Difference between percentage of highest and lowest group is 0.403%.
    Difference between percentage of highest group and state norm is 0.284%.
    Difference between percentage of lowest group and state norm is 0.119%.
    5-, 4-, and 3-Legislator Areas combined, comprising 157 members, or 90.230% of total membership of Legislature, and covering
        85.927% of state's population, averages 11,921 people per Legislator against the state norm of 12,518, and also averages
        0.547% of total state population per member, as against state norm of 0.575% per member, a difference of only
        0.028%.


*970
Schedule 2                        MISSISSIPPI HOUSE OF REPRESENTATIVES
                        COMPUTATIONS BY COUNTYNUMBER-OF-REPRESENTATIVES GROUPS
                                UNDER THE PROVISIONS OF SCR NO. 101 OF 1962
                                                                                                                % of State's
                                                               Population                                              Population
                                                 Number        Represented     Norm For       Over (+)       % Over    Represented
                                                  of             By Each       State As     Or Under (-)    Or Under     By Each
                               Population    Representatives  Representative   A Whole         Norm           Norm       Member  
One-Member Counties (58)         919,740          58             15,858         17,854         1,996-       11.180-      0.728[*]
Multiple-Member Counties (24)  1,258,401          64             19,663         17,854         1,809+       10.132+      0.903[*]
                               _________        ____             ______         ______                                   _____
State Norm (Average)           2,178,141         122             17,854         17,854                                   0.820[*]
                               =========        ====             ======         ======                                   =====
One-Member Counties (58)         919,740          58             15,858         17,854         1,996-       11.180-      0.728[**]
Two-Member Counties (17)         636,582          34             18,723         17,854           869+        4.867+      0.860[**]
Three-Member Counties (5)        315,285          15             21,019         17,854         3,165+       17.727+      0.965[**]
Six-Member Counties (1)          119,489           6             19,915         17,854         2,061+       11.544+      0.914[**]
Nine-Member Counties (1)         187,045           9             20,783         17,854         2,929+       16.405+      0.954[**]
                               _________         ___             ______         ______                                   _____
State Norm (Average)           2,178,141         122             17,854         17,854                                   0.820[**]
                               =========         ===             ======         ======                                   =====


*971
Schedule 3               COMPARISON OF LEGISLATIVE REPRESENTATION BY COUNTIES
                             UNDER THE PROVISIONS OF SCR NO. 101 OF 1962
                                                 Population
                                    Number       Represented      Norm For       Over (+)        % Over
                                      of           By Each        State As     Or Under (-)     Or Under
County            Population      Legislators     Legislator       A Whole         Norm           Norm  
Adams               37,730           3.0            12,577         12,518           59+           0.471
Alcorn              25,282           1.5            16,855         12,518        4,337+          34.646
Amite               15,573           1.5            10,382         12,518        2,136-          17.063
Attala              21,335           1.67           12,775         12,518          257+           2.053
Benton               7,723           1.5             5,149         12,518        7,369-          58.867
Bolivar             54,464           4.0            13,616         12,518        1,098+           8.771
Calhoun             15,941           1.5            10,627         12,518        1,891-          15.106
Carroll             11,177           1.5             7,451         12,518        5,067-          40.478
Chickasaw           16,891           1.5            11,261         12,518        1,257-          10.042
Choctaw              8,423           1.67            5,044         12,518        7,474-          59.706
Claiborne           10,845           1.5             7,230         12,518        5,288-          42.243
Clarke              16,493           1.5            10,995         12,518        1,523-          12.166
Clay                18,933           1.5            12,622         12,518          104+           0.831
Coahoma             46,212           3.0            15,404         12,518        2,886+          23.055
Copiah              27,051           2.5            10,820         12,518        1,698-          13.564
Covington           13,637           1.5             9,091         12,518        3,427-          27.377
DeSoto              23,891           1.5            15,927         12,518        3,409+          27.233
Forrest             52,722           3.0            17,574         12,518        5,056+          40.390
Franklin             9,286           1.5             6,191         12,518        6,327-          50.543
George              11,098           1.25            8,878         12,518        3,640-          29.078
Greene               8,366           1.25            6,693         12,518        5,825-          46.533
Grenada             18,409           1.67           11,023         12,518        1,495-          11.943
Hancock             14,039           1.5             9,359         12,518        3,159-          25.236
Harrison           119,489           7.0            17,070         12,518        4,552+          36.364
Hinds              187,045          10.0            18,705         12,518        6,187+          49.425
Holmes              27,096           3.0             9,032         12,518        3,486-          27.848
Humphreys           19,093           1.33           14,356         12,518        1,838+          14.683
Issaquena            3,576           1.33            2,689         12,518        9,829-          78.519
Itawamba            15,080           1.5            10,053         12,518        2,465-          19.692
Jackson             55,522           4.0            13,881         12,518        1,363+          10.888
Jasper              16,909           1.5            11,273         12,518        1,245-           9.946
Jefferson           10,142           1.5             6,761         12,518        5,757-          45.990


*972
Schedule 3               COMPARISON OF LEGISLATIVE REPRESENTATION BY COUNTIES
                             UNDER THE PROVISIONS OF SCR NO. 101 OF 1962Cont'd
                                                 Population
                                    Number       Represented      Norm For       Over (+)        % Over
                                      of           By Each        State As     Or Under (-)     Or Under
County            Population      Legislators     Legislator       A Whole         Norm           Norm  
Jefferson Davis     13,540           1.5             9,027         12,518        3,491-          27.888
Jones               59,542           4.0            14,886         12,518        2,368+          18.917
Kemper              12,277           1.5             8,185         12,518        4,333-          34.614
Lafayette           21,355           1.5            14,237         12,518        1,719+          13.732
Lamar               13,675           1.5             9,117         12,518        3,401-          27.169
Lauderdale          67,119           4.0            16,780         12,518        4,262+          34.047
Lawrence            10,215           1.5             6,810         12,518        5,708-          45.598
Leake               18,660           1.67           11,174         12,518        1,344-          10.737
Lee                 40,589           3.0            13,530         12,518        1,012+           8.084
Leflore             47,142           3.0            15,714         12,518        3,196+          25.531
Lincoln             26,759           2.5            10,704         12,518        1,814-          14.491
Lowndes             46,639           3.0            15,546         12,518        3,028+          24.189
Madison             32,904           3.0            10,968         12,518        1,550-          12.382
Marion              23,293           1.5            15,529         12,518        3,011+          24.053
Marshall            24,503           1.5            16,335         12,518        3,817+          30.492
Monroe              33,953           3.0            11,318         12,518        1,200-           9.586
Montgomery          13,320           1.5             8,880         12,518        3,638-          29.062
Neshoba             20,927           1.5            13,951         12,518        1,433+          11.448
Newton              19,517           1.67           11,687         12,518          831-           6.638
Noxubee             16,826           1.5            11,217         12,518        1,301-          10.393
Oktibbeha           26,175           1.5            17,450         12,518        4,932+          39.399
Panola              28,791           3.0             9,597         12,518        2,921-          23.334
Pearl River         22,411           1.5            14,941         12,518        2,423+          19.356
Perry                8,745           1.25            6,996         12,518        5,522-          44.112
Pike                35,063           3.0            11,688         12,518          830-           6.630
Pontotoc            17,232           1.5            11,488         12,518        1,030-           8.228
Prentiss            17,949           1.5            11,966         12,518          552-           4.410
Quitman             21,019           1.5            14,013         12,518        1,495+          11.943
Rankin              34,322           3.0            11,441         12,518        1,077-           8.604
Scott               21,187           1.67           12,687         12,518          169+           1.350
Sharkey             10,738           1.33            8,074         12,518        4,444-          35.501
Simpson             20,454           1.5            13,636         12,518        1,118+           8.931


*973
                                                  Population
                                                  Represented      Norm For      Over (+)         % Over
                                   Number of        By Each         State As   Or Under (-)      Or Under
County             Population      Legislators     Legislator       A Whole       Norm             Norm  
Smith               14,303           1.5             9,535         12,518        2,983-          23.830
Stone                7,013           1.25            5,610         12,518        6,908-          55.185
Sunflower           45,750           3.0            15,250         12,518        2,732+          21.825
Tallahatchie        24,081           1.67           14,420         12,518        1,902+          15.194
Tate                18,138           1.5            12,092         12,518          426-           3.403
Tippah              15,093           1.5            10,062         12,518        2,456-          19.620
Tishomingo          13,889           1.5             9,259         12,518        3,259-          26.035
Tunica              16,826           1.5            11,217         12,518        1,301-          10.393
Union               18,904           1.5            12,603         12,518           85+           0.679
Walthall            13,512           1.5             9,008         12,518        3,510-          28.040
Warren              42,206           3.0            14,069         12,518        1,551+          12.390
Washington          78,638           4.0            19,660         12,518        7,142+          57.054
Wayne               16,258           1.5            10,839         12,518        1,679-          13.413
Webster             10,580           1.5             7,053         12,518        5,465-          43.657
Wilkinson           13,235           1.5             8,823         12,518        3,695-          29.517
Winston             19,246           1.67           11,525         12,518          993-           7.933
Yalobusha           12,502           1.67            7,486         12,518        5,032-          40.198
Yazoo               31,653           3.0            10,551         12,518        1,967-          15.713
                 _________         ______           ______         ______
Norm (Average)   2,178,141         174              12,518         12,518
                 =========         ======           ======         ======
NOTE: Percentage computations have been carried to three decimal places only, which is deemed enough to insure substantial accuracy.


*974
Schedule 4                      COMPARISON OF LEGISLATIVE REPRESENTATION BY SENATORIAL DISTRICTS
                                          UNDER THE PROVISIONS OF SCR NO. 101 OF 1962
                                                                 Population
Senatorial Districts                                 Number      Represented     Norm For      Over (+)       % Over
   And Counties                                        of          By Each       State As     Or Under (-)   Or Under
  Composing Same                     Population    Legislators    Legislator     A Whole          Norm         Norm  
 1 Hinds                              187,045         10.0          18,705        12,518          6,187+      49.425
 2 Harrison                           119,489          7.0          17,070        12,518          4,552+      36.364
 3 Washington                          78,638          4.0          19,660        12,518          7,142+      57.054
 4 Lauderdale                          67,119          4.0          16,780        12,518          4,262+      34.047
 5 Jones                               59,542          4.0          14,886        12,518          2,368+      18.917
 6 Jackson                             55,522          4.0          13,881        12,518          1,363+      10.888
 7 Bolivar                             54,464          4.0          13,616        12,518          1,098+       8.771
 8 Forrest                             52,722          3.0          17,574        12,518          5,056+      40.390
 9 Leflore                             47,142          3.0          15,714        12,518          3,196+      25.531
10 Lowndes                             46,639          3.0          15,546        12,518          3,028+      24.189
11 Coahoma                             46,212          3.0          15,404        12,518          2,886+      23.055
12 Sunflower                           45,750          3.0          15,250        12,518          2,732+      21.825
13 Warren                              42,206          3.0          14,069        12,518          1,551+      12.390
14 Lee                                 40,589          3.0          13,530        12,518          1,012+       8.084
15 Adams                               37,730          3.0          12,577        12,518             59+       0.471
16 Pike                                35,063          3.0          11,688        12,518            830-       6.630
17 Rankin                              34,322          3.0          11,441        12,518          1,077-       8.604
18 Monroe                              33,953          3.0          11,318        12,518          1,200-       9.586
19 Madison                             32,904          3.0          10,968        12,518          1,550-      12.382
20 Yazoo                               31,653          3.0          10,551        12,518          1,967-      15.713
21 Panola                              28,791          3.0           9,597        12,518          2,921-      23.334
22 Holmes                              27,096          3.0           9,032        12,518          3,486-      27.848
23 Alcorn, Prentiss                    43,231          3.0          14,410        12,518          1,892+      15.114
24 Tishomingo, Itawamba                28,969          3.0           9,656        12,518          2,862-      22.863
25 Tippah, Union                       33,997          3.0          11,332        12,518          1,186-       9.474
26 Marshall, Benton                    32,226          3.0          10,742        12,518          1,776-      14.188
27 Lafayette, Pontotoc                 38,587          3.0          12,862        12,518            344+       2.748
28 Tunica, Quitman                     37,845          3.0          12,615        12,518             97+       0.775
29 DeSoto, Tate                        42,029          3.0          14,010        12,518          1,492+      11.919
30 Issaquena, Sharkey, Humphreys       33,407          4.0           8,352        12,518          4,166-      33.280
31 Tallahatchie, Yalobusha, Grenada    54,992          5.0          10,998        12,518          1,520-      12.143


*975
                                                              Population
Senatorial Districts                              Number      Represented    Norm For      Over (+)      % Over
   And Counties                                     of          By Each      State As    Or Under (-)   Or Under
  Composing Same                  Population    Legislators    Legislator     A Whole       Norm          Norm
32 Calhoun, Webster                 26,521          3.0           8,840       12,518       3,678-        29.382
33 Chickasaw, Clay                  35,824          3.0          11,941       12,518         577-         4.609
34 Attala, Choctaw, Winston         49,004          5.0           9,801       12,518       2,717-        21.705
35 Oktibbeha, Noxubee               43,001          3.0          14,334       12,518       1,816+        14.507
36 Montgomery, Carroll              24,497          3.0           8,166       12,518       4,352-        34.766
37 Neshoba, Kemper                  33,204          3.0          11,068       12,518       1,450-        11.583
38 Leake, Scott, Newton             59,364          5.0          11,873       12,518         645-         5.153
39 Smith, Jasper                    31,212          3.0          10,404       12,518       2,114-        16.888
40 Clarke, Wayne                    32,751          3.0          10,917       12,518       1,601-        12.790
41 Simpson, Covington               34,091          3.0          11,364       12,518       1,154-         9.219
42 Perry, Greene, George, Stone     35,222          5.0           7,044       12,518       5,474-        43.729
43 Hancock, Pearl River             36,450          3.0          12,150       12,518         368-         2.940
44 Claiborne, Jefferson             20,987          3.0           6,996       12,518       5,522-        44.112
45 Wilkinson, Amite                 28,808          3.0           9,603       12,518       2,915-        23.286
46 Lincoln, Franklin                36,045          4.0           9,011       12,518       3,507-        28.016
47 Copiah, Lawrence                 37,266          4.0           9,317       12,518       3,201-        25.571
48 Walthall, Marion                 36,805          3.0          12,268       12,518         250-         1.997
49 Jefferson Davis, Lamar           27,215          3.0           9,072       12,518       3,446-        27.528
                                 _________        _____          ______      _______
   Norm (Average)                2,178,141        174            12,518       12,518
                                 =========        =====          ======      =======
NOTE: Percentage computations have been carried to three decimal places only, which is deemed enough to insure substantial accuracy.


*976
Schedule 5
          MINIMUM NUMBER AND PERCENTAGE OF STATE'S POPULATION
           REQUIRED TO ELECT A MAJORITY OF MEMBERS OF STATE
           SENATE UNDER THE PROVISIONS OF SCR NO. 101 OF 1962
                                                                  Number
                                                                    of
Senatorial District                            Population         Senators
           State                               2,178,141            52
                                               =========            ==
        44 Claiborne, Jefferson                   20,987             1
        34 Attala, Choctaw, Winston               49,004             2
        36 Montgomery, Carroll                    24,497             1
        32 Calhoun, Webster                       26,521             1
        22 Holmes                                 27,096             1
        49 Jefferson Davis, Lamar                 27,215             1
        31 Tallahatchie, Yalobusha, Grenada       54,992             2
        21 Panola                                 28,791             1
        45 Wilkinson, Amite                       28,808             1
        24 Tishomingo, Itawamba                   28,969             1
        38 Leake, Scott, Newton                   59,364             2
        39 Smith, Jasper                          31,212             1
        20 Yazoo                                  31,653             1
        26 Marshall, Benton                       32,226             1
        40 Clarke, Wayne                          32,751             1
        19 Madison                                32,904             1
        37 Neshoba, Kemper                        33,204             1
        30 Issaquena, Sharkey, Humphreys          33,407             1
        18 Monroe                                 33,953             1
        25 Tippah, Union                          33,997             1
        41 Simpson, Covington                     34,091             1
        17 Rankin                                 34,322             1
        16 Pike                                   35,063             1
        42 Perry, Greene, George, Stone           35,222             1
                                                 _______            __
           Totals                                810,249            27
           % of State Totals                      37.199%       51.923%
                                                  =======       ======
           Remainder of State Totals           1,367,892            25
           % of State Totals                      62.801%       48.077%
                                                  =======       =======


Schedule 6
 MINIMUM NUMBER AND PERCENTAGE OF STATE'S POPULATION
       REQUIRED TO ELECT A MAJORITY OF MEMBERS
            OF HOUSE OF REPRESENTATIVES
       UNDER THE PROVISIONS OF SCR NO. 101 OF 1962
                                                  Number of
                                                      of
Counties                          Population    Representatives
State                             2,178,141          122
                                  =========          ===
Issaquena                             3,576            1
Stone                                 7,013            1
Benton                                7,723            1
Greene                                8,366            1
Choctaw                               8,423            1
Perry                                 8,745            1
Franklin                              9,286            1
Jefferson                            10,142            1
Lawrence                             10,215            1
Webster                              10,580            1


*977
Schedule 6
       MINIMUM NUMBER AND PERCENTAGE OF STATES POPULATION
            REQUIRED TO ELECT A MAJORITY OF MEMBERS
                  OF HOUSE OF REPRESENTATIVES
      UNDER THE PROVISIONS OF SCR NO. 101 OF 1962  Cont'd
                                                      Number
                                                        of
Counties                           Population     Representatives
Sharkey                              10,738              1
Claiborne                            10,845              1
George                               11,098              1
Carroll                              11,177              1
Kemper                               12,277              1
Yalobusha                            12,502              1
Wilkinson                            13,235              1
Montgomery                           13,320              1
Lincoln                              26,759              2
Walthall                             13,512              1
Jefferson Davis                      13,540              1
Holmes                               27,096              2
Copiah                               27,051              2
Covington                            13,637              1
Lamar                                13,675              1
Tishomingo                           13,889              1
Hancock                              14,039              1
Smith                                14,303              1
Panola                               28,791              2
Itawamba                             15,080              1
Tippah                               15,093              1
Amite                                15,573              1
Yazoo                                31,653              2
Calhoun                              15,941              1
Wayne                                16,258              1
Madison                              32,904              2
Clarke                               16,493              1
Noxubee                              16,826              1
Tunica                               16,826              1
Chickasaw                            16,891              1
Jasper                               16,909              1
Monroe                               33,953              2
Rankin                               34,322              2
Pontotoc                             17,232              1
Pike                                 35,063              2
Prentiss                             17,949              1
Bolivar                              54,464              3
Tate                                 18,138              1
Grenada                              18,409              1
Leake                                18,660              1
Clay                                 18,933              1
                                    _______             __
Totals                              879,123             62
% of State Totals                    40.361%        50.820%
                                    ========        =======
Remainder of State Totals         1,299,018             60
% of State Totals                    59.639%        49.180%
                                    ========        =======

NOTES
[1]  "Rule 17(b) Capacity to Sue or Be Sued. The capacity of an individual, other than one acting in a representative capacity, to sue or be sued shall be determined by the law of his domicile. The capacity of a corporation to sue or be sued shall be determined by the law under which it was organized. In all other cases capacity to sue or be sued shall be determined by the law of the state in which the district court is held, except (1) that a partnership or other unincorporated association, which has no such capacity by the law of such state, may sue or be sued in its common name for the purpose of enforcing for or against it a substantive right existing under the Constitution or laws of the United States * * *."
[*]   Difference between one-member and multiple-member counties as a whole is only 0.175%. Difference between one-member counties and State Norm is only 0.092%. Difference between multiple-member counties and State Norm is only 0.083%.
[**]   Largest difference between highest and lowest percentage in this group is only 0.237%. Difference between highest percentage and State Norm is only 0.145%. Difference between lowest percentage and State Norm is only 0.092%.

